                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                3:04-CR-00271-RJC-DCK
 USA                                                )
                                                    )
     v.                                             )                 ORDER
                                                    )
 ILA LITTLE HOWARD                                  )
                                                    )



          THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on retroactive amendments to the United States Sentencing Guidelines

regarding to drug offenses, (Doc. Nos. 526), counsel’s Notice of Ineligibility, (Doc. No. 535),

and related pleadings.

          The defendant’s plea to offenses related to prostitution and drug trafficking resulted in a

total offense level of 35, a criminal history category of I, and an advisory guideline range of 168-

210 months. (Doc. No. 537: Supplemental Presentence Report at 1). The Court imposed an

aggregate sentence of 210 months. (Doc. No. 353: Judgment at 2). Although the drug offense

level has been reduced by the 2014 amendments, USSG Supp. to Appx. C., Amend. 782 (2014),

the total offense level and guideline range remain the same. (Doc. No. 537: Supplemental

Presentence Report at 2; Doc. No. 535: Notice of Ineligibility at 1). Accordingly, the defendant

is not eligible for a sentence reduction. United States v. Munn, 595 F.3d 183, 187 (4th Cir.

2010); USSG §1B1.10 comment. (n.1(A)(ii)) (defendant not eligible for reduction where another

guideline provision prevents lowering of guideline range).

          IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 526), is

DENIED.




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        The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.


                                             Signed: January 11, 2016




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